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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                 )
         In re:                                                  )     Chapter 11
                                                                 )
         Hospital Acquisition LLC, et al.,1                      )     Case No. 19-10998 (BLS)
                                                                 )
                                  Debtors.                       )     Jointly Administered
                                                                 )

                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                                JUNE 27, 2019 AT 11:30 A.M. (ET)

              PLEASE NOTE THAT THE HEARING WILL BE HELD IN THE UNITED STATES
              BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET
              STREET, 5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

         ADJOURNED OR RESOLVED MATTERS

         1.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                  (A) Continue Using Existing Centralized Cash Management System, (B) Honor Certain
                  Prepetition Obligations Related to the Use of the Cash Management System, and
                  (C) Maintain Existing Bank Accounts and Check Stock and (II) Granting Related Relief
                  [D.I. 9, 5/7/19]

                  Response Deadline:       May 22, 2019 at 4:00 p.m. (ET), extended for the Committee to
                                           July 8, 2019 at 12 noon (ET)

                  Related Documents:

                       A.     Interim Order (I) Authorizing the Debtors to (A) Continue Using Existing
                              Centralized Cash Management System, (B) Honor Certain Prepetition
                              Obligations Related to the Use of the Cash Management System, and

                  1
                     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Hospital Acquisition LLC (3232); Hospital Acquisition Intermediate Sub LLC (9609);
         LifeCare Holdings LLC (f/k/a Hospital Acquisition Sub I LLC) (6612); LifeCare Behavioral Health Hospital of
         Pittsburgh LLC (9835); New LifeCare Hospitals LLC (7959); New LifeCare Hospitals of Dayton LLC (2592); New
         LifeCare Hospitals of Milwaukee LLC (2428); New LifeCare Hospitals of South Texas LLC (4237); Hospital
         Acquisition Sub II LLC (7920); New LifeCare Management Services LLC (4310); New LifeCare REIT 1 LLC
         (9849); New LifeCare Hospitals of Mechanicsburg LLC (0174); New Pittsburgh Specialty Hospital LLC (7592);
         LifeCare Vascular Services, LLC (5864); New LifeCare Hospitals of North Texas LLC (4279); New LifeCare
         Hospitals of Chester County LLC (1116); New LifeCare Hospitals of Northern Nevada LLC (4534); New San
         Antonio Specialty Hospital LLC (2614); New LifeCare Hospitals of North Carolina LLC (7257); New LifeCare
         Hospitals of Pittsburgh LLC (8759); New NextCare Specialty Hospital of Denver LLC (6416); Hospital Acquisition
         MI LLC (4982); LifeCare Pharmacy Services LLC (3733); New LifeCare REIT 2 LLC (1315); New LifeCare
         Hospitals at Tenaya LLC (6891); and New LifeCare Hospitals of Sarasota LLC (8094). The Debtors’ address is
         5340 Legacy Drive, Suite 150, Plano, Texas 75024.

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                               (C) Maintain Existing Bank Accounts and Check Stock and (II) Granting
                               Related Relief [D.I. 43, 5/8/19]

                     B.        Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 55,
                               5/9/19]

                     C.        Final Order (I) Authorizing the Debtors to (A) Continue Using Existing
                               Centralized Cash Management System, (B) Honor Certain Prepetition
                               Obligations Related to the Use of the Cash Management System, and
                               (C) Maintain Existing Bank Accounts and Check Stock and (II) Granting
                               Related Relief [D.I. 166, 5/29/19]

                Responses Received:

                     A.        Informal Comments from the Committee

                Status: A final order has been entered with respect to the relief requested in the Motion,
                        other than with respect to Intercompany Transactions, Intercompany Claims, and
                        related issues (the “Intercompany Relief”). This matter is adjourned by
                        agreement of the Debtors and the Committee with respect to final approval of the
                        Intercompany Relief to July 11, 2019 at 10:00 a.m. (ET).

         2.     Debtors’ Second Omnibus Motion for Entry of an Order Authorizing the Debtors to
                Reject Certain Unexpired Leases of Nonresidential Real Property and Executory
                Contracts Effective as of the Rejection Date [D.I. 204, 5/31/19]

                Objection Deadline: June 14, 2019 at 4:00 p.m. (ET),

                Related Documents:

                          A.      Certificate of No Objection [D.I. 249, 6/17/19]

                          B.      Order Authorizing the Debtors to Reject Certain Unexpired Leases of
                                  Nonresidential Real Property and Executory Contracts Effective as of the
                                  Rejection Date [D.I. 251, 6/18/19]

                Objections Received: None

                Status: An order has been entered. No hearing is required.

         3.     Patient Care Ombudsman’s Application for Entry of Order Authorizing the Retention and
                Employment of Seelig + Cussigh HCO LLC Effective May 21, 2019 [D.I. 223, 6/6/19]

                Objection Deadline: June 20, 2019 at 4:00 p.m. (ET)

                Related Documents:

                          A. Certificate of No Objection [D.I. 2/1, 6/21/19]

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                       B. Order Authorizing Retention and Employment of Seelig + Cussigh HCO LLC
                          Effective May 21, 2019 [D.I. 287, 6/24/19]

                Objections Received: None

                Status: An order has been entered. No hearing is required.

         4.     Patient Care Ombudsman’s Application for Entry of Order Authorizing the Retention and
                Employment of Perkins Coie LLP as Counsel Effective May 27, 2019 [D.I. 224, 6/6/19]

                Objection Deadline: June 20, 2019 at 4:00 p.m. (ET)

                Related Documents:

                       A. Certificate of No Objection [D.I. 282, 6/21/19]

                       B. Order Authorizing Retention and Employment of Perkins Coie LLP as
                          Counsel to the Patient Care Ombudsman Effective May 27, 2019 [D.I. 288,
                          6/24/19]

                Objections Received: None

                Status: An order has been entered. No hearing is required.

         5.     Debtors’ Application for an Order (A) Authorizing the Retention and Employment of
                Crowe LLP as Audit and Tax Advisor to the Debtors, Effective as of the Petition Date
                and (B) Waiving Certain Requirements of Local Rule 2016-2 [D.I. 228, 6/6/19/19]

                Objection Deadline: June 20, 2019 at 4:00 p.m. (ET)

                Related Documents:

                       A.     [SEALED] Exhibit to Debtors’ Application for an Order (A) Authorizing
                              the Retention and Employment of Crowe LLP as Audit and Tax Advisor
                              to the Debtors, Effective as of the Petition Date and (B) Waiving Certain
                              Requirements of Local Rule 2016-2 [D.I. 229, 6/6/19]

                       B.     Certification of Counsel [D.I. 283, 6/21/19]

                       C.     Order (A) Authorizing the Retention and Employment of Crowe LLP as
                              Audit and Tax Advisor to the Debtors, Effective as of the Petition Date
                              and (B) Waiving Certain Requirements of Local Rule 2016-2 [D.I. 286,
                              6/24/19]




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                Objections Filed:

                       A.     Informal Response of the U.S. Trustee

                Status: An order has been entered. No hearing is required.

         CONTESTED MATTERS GOING FORWARD

         6.     Debtors’ Motion for (I) an Order Establishing Bidding Procedures and Granting Related
                Relief and (II) an Order or Orders Approving the Sale of the Assets [D.I. 227. 6/6/19]

                Objection Deadline: June 20, 2019 at 4:00 p.m. (ET)

                Objections Filed:

                       A.     Informal Comments
                              i. U.S. Trustee
                              ii. Committee
                              iii. MPT of Dallas LTACH, L.P.

                       B.     Objection of Cigna Health and Life Insurance Company and Life
                              Insurance Company of North America [D.I. 279, 6/21/19]

                Status: The informal comments of the U.S. Trustee and the Committee are resolved. This
                        matter is going forward.

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         Dated: Wilmington, Delaware
                June 25, 2019            /s/ Joseph M. Mulvihill
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                                         Jaime Luton Chapman (No. 4936)
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                                         – and –
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                                         POSSESSION




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